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    MARYELLIS BUNN, and
  8 1AND8 INC., dba MUSEUM OF ICE
    CREAM
  9
 10                              UNITED STATES DISTRICT COURT
 11              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 12
 13 PRETTY IN PLASTIC, INC., a                         Case No. 2:18-cv-06091-GW (SKx)
    California corporation,
 14                                                    [PROPOSED] ORDER GRANTING
                 Plaintiff,                            DEFENDANTS’ MOTION TO
 15                                                    DISMISS COMPLAINT
          v.
 16                                                    Date: Nov. 8, 2018
    MARYELLIS BUNN, an individual;                     Time: 8:30 a.m.
 17 and1AND8 INC., a Delaware                          Crtrm.: 9D
    corporation dba MUSEUM OF ICE
 18 CREAM,                                             The Hon. George H. Wu
 19                      Defendants.
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                                                     -1-            Case No. 2:18-cv-06091-GW (SKx)
      SMRH:488036337.1      [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS COMPLAINT
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  1                                       [PROPOSED] ORDER
  2           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  3           Defendants 1AND8 Inc. dba Museum of Ice Cream (“MOIC”) and Maryellis
  4 Bunn’s (collectively, “Defendants”) Motion to Dismiss Complaint (the “Motion”)
  5 came on for hearing before the Honorable George H. Wu on November 8, 2018. All
  6 parties were represented by counsel. The Court, having read and considered the
  7 papers in support of and in opposition to the Motion, all admissible evidence and
  8 counsel’s argument, ORDERS as follows:
  9           1.         Defendants’ motion is granted. Plaintiff Pretty in Plastic, Inc.’s
 10 (“Plaintiff”) Complaint is dismissed with prejudice pursuant to Fed. R. Civ. P.
 11 12(b)(6).
 12           2.         Plaintiff’s copyright infringement claim fails because Plaintiff has not
 13 and cannot plausibly allege that Defendants copied protectable elements of
 14 Plaintiff’s work. Accordingly, Plaintiff cannot allege substantial similarity as a
 15 matter of law.
 16           3.         Plaintiff’s unjust enrichment and unfair competition claims fail because
 17 they are completely preempted by the Copyright Act, as those claims are based on
 18 Defendants’ alleged use of Plaintiff’s pictorial work, and are thus not qualitatively
 19 different from Plaintiff’s rights under the Copyright Act.
 20           4.         Plaintiff’s breach of contract claim fails because Plaintiff has not and
 21 cannot plausibly allege a breach by Defendants based on Defendants’ alleged use of
 22 a unicorn in MOIC’s San Francisco exhibit. The parties’ Non-Disclosure
 23 Agreement (“NDA”) expressly excluded from the definition of “Confidential
 24 Information” information which “was or becomes generally available to the public.”
 25 Although Plaintiff’s design proposal depicted a white unicorn, the idea of a white
 26 unicorn was “generally available to the public” prior to the parties entering into the
 27 NDA. Accordingly, Plaintiff cannot allege that Defendants’ use of a publicly
 28 available concept, i.e., a white unicorn, constitutes breach of the NDA.

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      SMRH:488036337.1       [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS COMPLAINT
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  1           IT IS SO ORDERED.
  2
  3 DATED: ____________, 20__
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  5
                                                The Honorable George H. Wu
  6
                                                United States District Judge
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      SMRH:488036337.1   [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS COMPLAINT
